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                 EXHIBIT A
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                                   STOCKPURCHASl!:.AGREEMENT

        THI!i,STOCK PURCHASE AGREEMENT (this "Agreement',, fa made and entered effective as of
NoV0Jnhei: /.L 2014 (the "Effective Pate•,, between GOOBERRY CORP., a New York corporation (the
"Company'), NlCOLAS GOUREAU (''Shareholder"), fill individual and owner of all of the issued and
outstanding shares of the stock of the Company. and ML RETAIL LLC (the "Purchaser").

      Capitalized terms used in this Agreement and not otherwise defim:d are defined in Section 1 of this
Agreement.

                                      PRELIMlNARY STATEMENT

    A. Shareholder is the owner ofone hundred percent of the issued and outstanding Common Stock of the
       Company.

    B. In co.nnection with the Company'$ ongoing operation of its business, Shareholder and the Com_pany
       have detennined it is necessary, desirable and in each of their best interests to futthe( capitalize the
       Company.           '

    c_   The Company is willing to issue and sell to the Purchaser, and the Shareholder is willing to cause the
         Company to issue and sell to the l'urchaser. shares of Corumo:n Stock in consideration of capital
         contributions to the CompRny and the Purcbase,r is willing to purchase $bares ofthe Common Stoc~
         and make a cat,it'al contl'ibution to the Company pursuant to the term and conditions of this
         Agreement.

      NOW, THEREFORE, in conside.ta.tion of the mutual representations and agreements set forth in this
Agreement and other good and valuable considc.tation, the receipt and sufficiency of which is hereby
acknowledged, the Comp~, Shareholder and the Purchaser hereby agree as follows:

Section 1.       DEFINITIONS.

      1.1      As used in th is Agreement, the following tenns shall haye the following:meanings:

  •                (a)        "Action" means any claim, action, cause of action, demand, lawsuit, arbitration,
inqnfry, audit, notice ofvioI.itioA, proceeding, litigation, citation, stuxunons, subpoena or inve3tigation of any
nature (civil, ctin:1.lnal, administrative, .regulatory or o1herwise), whethet' at law or in equity.

                 (b)      "Board" means the Board of Directors of the Company.
                        1
              (c)        'Cha1ter" means the Articles of Incorporation of the Company attached to this
Agreement as Exhibit A.

                 (d)      ."Closing'' is denned in Section 2.2 of this Agi-eement.
                          1
                 (e)       'Common Stock" means the common stock of the Company.

                (f)     "Disclosure Schedules" shall collectively refer to all schedules atbi.ch.ed he,reto.
including those in response to the i:epresentations, warranties and disclosures made in Section,5 of this
Agreement




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                  (g)       "Gove:m1nental Authority" means any federal, state, local or foreign government ot
political subdivision thereof'; or any agency or instrumentality ofsuch government or political subdivision, or
any self~1-egulated orgaoi.zation or other non-governmental regulatory authority or quasi-governmental .authority
(to the extent that the mles, regulations ()l' orders of such organization ()f &uth.ority have the force of Law), or
any arbitrator, Court or tribunal of competent jurisdiction.                                        ·

                 (h)      ''Indemnifying Party" is defined in Section 8.4 ofthis Agreement_

             (i)      "Knowledge/' "Knowledge of the Companyt or similar terms with respect to the
Company, means the actual knowledge of the Company and/or Shai:eholder.

               (j)      "Law•~ means any statute, law, ordinance, regulation, rule, oode. order, constitution,
treaty, common law, judgment;, decree, other requirement, or rule of law of any Governmental Authority.

                  (k)      "Loss" means any losses, damages, liabilities, deficiencies, actions, judgments,
interest, awards, penalties, fines, costs, or expenses of whatever kind, including rensonable attorney's fees and
the cost of enforcing any right to indemnification hereunder and the reasonable cost ofpurnuing any insurance
providers_

                (1)     ''Management Agreement'' shall mean the agreement to be entered into between the
Management Com.pat),)' rind the Company, pursuant to which the Management Company shall ptovide certain
management services to the Company, the terms of which shall be mutually agreed upon between the
Shareholder, the Purchaser and the Cmnpany_

                 (m)      "Management Compani' shall mean ECONOLUX360 Inc.

                 (:u)      ·'Notice of Claim" is defined in Section 8.4 of this Agi:eeroent

                  (o)     •'Outstanding Shareholde1· Loan'' shallm.ean that certain loan by the Sbm-eholderwith
a current outstruiding principal ba.lance (including all accrued and unpaid interest) of$140,000.00> prior to the
$40,000 payment contemplated pursuaut to Section 2.2 hereof.

                  (p)       ..Permits" means all per.mits, licenses, franchises, approvals 1 authorizations,
registrations, certificates, variances, and similar rights obtained, or required to be obtnined, from Gov0nunenta1
Authol•ities.

                 (q)      '~Pennitted Encumbrances" is defined in Section 5.13 of this Agl'eement

                 (r)       ''Preemptive Rights" is defined in Section 5.3 of this Agreement,

              (s)    "Person•> meaus aa individual, corporation, partnership1 joint ventw-e, limited liability
company, Governmental Authority, unincorpo1•ated organization, trust, associ.ation1 or other entity.

                 (t)      "Plll'chase Price>• is defined in Section 2.1 of this Agreement,

                 (u)      "Purchaser Indemnitees., is defined in Secti!:Jg 8.2 of this Agreement.

                 (v)       ..Reference :Balance Sheets" is defined in Section 5.4 of this Agreement.

                (w)      "Release" means any actual or threatened release1 spilling, leaking, pumping, pouring,
emitting, emptying, disch8l'ging, injecting, escaping, leaching, dumping, abandontnent1 disposing, or allowing



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  to escape or migrate into or through the environment (which includes, without limitation, ambient air (indoor
  or outdoor), surface water, groundwater, land surl'ace, or subsurface strata or within any building, stmcture,
  facility or fixture). "Representative" means, with respect to any Person► any and all directors, officer:;,,
  employees, consultantsJ financial advisol's, couni;;et, accountants, and other agents of such Pe1•son,

               (x)    "Shareholder Agreement'> shall mean the form of Shareholder Agreement to
  be executed at Closing in a form mutually acceptable to the Company, the Purchaser, the
  Shareholder, Meakin and Goureau,

  Sc-ction 2,      fURCHASE AND SALE OF STOCK.

         2.1      Sale and Issuance Qf Co.tnruon Stock. Subject to the terms and condHions of this Agreement, and
upon the .basis of the •·epresentations and warranties contained in this Agreement, at the Closing (as hereinafter
defined) the Company shal I issue and sell to the Purchaser effective as of the Effective Date free and clear ofany
liens, clahns, charges, and encumbrances whatsoever (except those imposed by this Agree1nent or securities laws
generally)> and the Purchaser agrees to purchase and accept from the Company effective as of the Effective Date,
shares of Common Stock representing thirty"two percent (32%) of the isi;;ued and outstanding Common Stock
(the ''ML Shares;').

        2.2       Purchase Price. 'Ihe consid~i:ation for the ML Shares (the ":Purchase Pric~') shall be
$800,000.00 which shall be contributed by the Purchaser to the Company. $602,000.00 of the Piu:oh.ase Price
ha$ been paid and contributed to the Company, or paid to third parties on behalf of the Company, by the
Pw·chaser prioJ' to the date hereof and the remaining $198>000. 00 (the "Closing Contribution>>) of the Purchase
Price shall be paid and contributed to the Company or paid to third party vendors on behalf of the Company
simultaneously with the issuance and transfer of the ML Shares. 'The Closing Contribution shall be used for (a)
the payment ofa $40,000 principal payment to the Shareholder on the Outstanding Shareholder Loan, (b) general
working capital purposes and (c) r:;apital lmproveme11ts and eA'l)enditures by the Company. Notwithstanding
anything to the contrary contained on the Refe1enoc l3alance Sheet, the Company aod Shareholder represent and
warrant tha.t the outstanding principal umoun.t under the Outstanding Shareho{det Loan immedlate-ly priol' the
Closing is $140,000.00 and following the $40,000.00 principal payment l"O tl1e Shareholder the outstanding
principal amount together with all acc(ued and unpaid interest shall be $100,000.00 [

        2.3      C!o$ing, Payment and Delivery. Payment for and delivery of the certificates evidencing the
Common Stock to be issued and so Id to the Purchaser pursuant to this Agreement (the "Closing") shall take pla.oo
simultaneously with the execution ofth.is Agreement. At the Closing, the Company shall issue a stock certificate
to the Purchaser evidencing the ML Shares.

        2.4      :rrafisfer to Menkin and Goureau, At or priol' to the Closing, the ShatehoJdel' shall transfer to
each of Stephanie Menkin (<'Menkin'') and Noemi Goureau ("Goureau") shares of Common Stock of the
Company whereby at Closing Menkin shall own twenty-two percent (22%) of tho issued and outstanding
Common Stock of the Company (the 1'Menkin Shal'es'') a'IJ'/,d Goureau shall own twelve percent (12%) of the
issued and outstanding Comm.on Stock ofthe Company (the ''Goureau Shares» and together with Me.nkio, SbBres
and the ML Shares the "Shares"),


  Seeticm 3.        CONDTI10.NS O,F SHAl,UillOLDER'S OBLIGATIONS AT CLOSING. 'l'he obligation
  of the Company to consummate fue issuaaoe and coitveyance ofthe ML Shares to the I't1t0haser at the Closing
  is subject to the sei'lsfaction of the following co:od-ilions, any of which ma.y be waived by the Company in
  writing:




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       3.1      Represe;Qt/!tions and Warranties True at Clooio,g. The representations and warranties :tnade by the
Purchaser in Section 6 of this Agreement shall be true, correct, and complete as of the Closing.

        3.2    Closing Contribution to the Com,pa!1,J'.. The Purchaser shall pay and make a capital contiibution
to the Company in an amount equal to the Closing Contrib'l.ltion.

        3.3      Management Agreement. The Management Agreement shall be executed and delivered.

       3.4      Shareholder Agreement. The Purchaser, Shareholder, Menkin and Goureau shall have
entered into the Shareholder Ag,:ee:memt.
  Section 4.       COl'llJI".rIONS OF PURCB:ASER I S OBLIGATIONS AT CLOS1l.'4'G. Tbe obligation of
  the Purchaser to pUJTcbnse ML Shares under this Agreement at the Closiogis subject t<;> the satisfaction of the
  conditions described in this Section 4. Except as otherwise expressly set forth below; the satisfaction of such
  conditions will be determinedi and 8l.1Y such condition may be waived in writing, by the Purchaser.

         4.1      Corporate Proceel!i!Jgs. All corporate a.nd other proceedings required to be taken by the
Company and Shareholder in connection with the Closing and all documents incident thereto shall be reasonably
satisfactory in form and substance to the Purchaser, :md 11.le Purchaser shall have received all such counterpart
originals or certified or ot:h~r copies of such documents as it shall reasonably request.

         4.2        Closing Certificate. At the Closing, the Company shall have delivered a copy, certified as ofthe
date of the Closing by the Secretary of the Comp.any, of the resolutions of the Board authorizing the 6Xecution,
delivery and perfo1mance of this Agreement and the transactions cou,templated hereby and thereby, and the
issuancei !ll).d sale of the Shares pursuant to this Agreement at such Closing.

        4.3      Corporate Standing. The Company shall be in good standing iJi the State of New York. and the
Company shall have delivered to the Plll'Chaser a copy of its current good standi.o.g certificate certified by the
Secretary of State of the State of New York.

        4.4     Consents. The Company and Shareholder shall have obtained all consents necessary for the
issuance and conveyance of the Shares under this Agreement.

        4.5      Management Agreement.          The Management Agreement shall be executed and delivered.

        4.6       Reprg§cntatlons and Warranties True atC!,2ii;!2g. The representations and wan-anties made by the
Company and Shareholder iu ,Section 5 of-this Agreement shall be true, correct and complete in all material
respects ;is of the Closing.

        4.7      Shareholder Agreement. The Purchaser, Shareholder, Menkin and Goureaushallhave
entel'ed into the Shareholder AgteeD1ent

  Sectfon 5.   REPRESENTATlONS ANl> WARRANTIES OF SHARE!{OLD'E!R AND THE
  COA:J,PANY. The Company and Shareholder represent and wan'8nt to the ?urchaser that:

         5.1     Organization and Quajiflcation. TI1e Compauy is a corpo1•ation duly organized and validly
existing in good $tao ding under the laws of the State of New Yorlc, with the requisite legal and coi:potare power
to own its property and to carry on its business as currently coo.ducted. The Company is In good standing and is




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duly qualified to transact business as a foreign corp01·ation in eachjuri$d.ietion in which the failure to qualify
would have a material adverse effect on its business, p1Xlpc::rties, prospects, or financial condition.

         5.2     ~ . The Company has all requisite legal power to enter into this Agreement and tocany out
and perform its obligations under -the terms hereof and thereof. The Company has all requisite legal power to
issue the Shares.

         5.3      Capjtaliz.ation.

                     (a)      The Shat'eholder is the owner of one hundred percent (100%) of the issued and
  outstanding Common Stock all of which (i) has been duly authorized, validly issued, and js fully paid and
  nonassessi;ibfo, (ii) has not been issued in violation of preemptive rights, voting agreements, or rights of first
  offer 01· refusal applicable to the Common Stock (collectively, ('Preemptive Righ1S'')1 and (ill) has been offered,
  issued, and sold by the Company in compliance with all applicable federal and state securities laws, Attached
  hereto as Schedule 5.3(a) is a complete and acctirate list of the shareholdm-s ofthe Company. with the number
  of shares and percentage interest of the Company's Comm.on Stock.

                   (b)       Other than pursuant to this Agreement (i) there are no subsc1iptions, warrants, options,
  couvertible securities (inclucli.ng con.verhble debt), participation dghts or other rigl1ts (coJ1tingertt or otherwise)
  to purchase or acquire any Comn1on Stock, (ii) the Company has no obligation (o.ontingent or otb.e~e) to
  issue any subscdption, warrant, option, conve:rti.bl~ security (including convertible: debt) or other such right, or
  to issue or distribute to shareholders any evidences of indebtedness or assets of the Company) (Hi) the
  Company has no obligation (contingent or othel'wise) to purchase, redeem, or otherwise acquire any ColillUon
  Stock or to pay any dividend or to make aey other distribution in respectthe,i:eof, (iv) there are no outstanding
  or authorized stock appreciation, phuntom stock, or similar rights wJth respect to the Company, and (v) there
  are no agl.'eements, written or oral, between the Company and any holdeJS of i:ts securities relating to
  Preemptive Rights or the sale or transfer (including agree.tnents relating to rights of Ul'$t refusal, co-sale rights
  or "drag-along" t'ights), registration under the Securities Acti or voting, of the Common Stock.

        5.4       Financiaj Statements.

                     (a)      Shateholder and the Company have delivered to the Purchaser the fU.'lancial statements
  identified on Schedule 5.4(a) hereto; copies of which are attached as Schedule 5.4{a) hereto (said fmancial
  statements and information are collectively re::fun-ed to as the "Financial Statements. The Financial Statements are
  true, con·ect and complete, have been prepared in accordance with the generally accepted accounting principles
  consistently applied and fairly present the financial positiou ofthe Company on the dares indicated and the results
  of its operations for the periods then ended. The Company has re<:orded and the Financial Statements reflect true
  and accurate allocations of expenses and l-evenues.

                   (b)      Schedule 5.4(b) sets forth the Company's unaudited balance sheet as of September 30,
  2014 (tb.e "Rofereuce Balance Sheet'') and its unaudited statements ofoperations for the yeatto date. Such
  financial statements (including in aJI oases the notes thereto, if any) are accurate and complete in all xnatedal
  respects. Such unaudited financial statements pl'esentfairly the finimcial position of the Company as oftha date
  indicated.

                   (c)      The Company has no Knowledge of im event or condition of any type that has
  materially and adversely affected or is likely to affect O\aterially and adversely the business, condition, affairs,
  operations, prope1ties, or assets of the Company.

        5.5       Accounts Receiv11ble. The accounts 1'eceivable :reflected on the Reference Balance Sheets and
the accounts receivable arising after the date thereof(a) have arisen from bona fide transactions entered into by



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the Company involving the sale of goods or the rendm:ing of services in the ordiruuy course of business
consistent with past practice, and (b) constitute only valid, undisputed claims of the Company not subject to
claims of set-off or other defenses or counterclaims other than normal cash discounts accrued in the ordinary
course of busin,ess consistent with past practice.

         5.6     Liabilities. The Company has no liabilities, actual or contingent, eic:oo_pt (a) liabilities fully
reflected on the Reference Balance Sheets, (b) liabilities disclosed on the Disclosure Schedule, (c) liabilities
incurred in the ordinary course of business since the date of the Reference Balance Sheet, and (d) liabilities
incurred for services provided incident to fue transactioos contemplated by tlrls Agreelllent

         S. 7    Companv Autho1i~ations. All corporate action on the part oftb.e Company and its direct01'S and
shareholders ue;cessary for the authorization, execution and delivery ofthis Agreement and the consummation of
the transactions contemplated hereby, aod for the authorization, issuance (or reservation for issuance), and
delivery of the Shares has been taken, This Agreement is the legal. valid, and binding obligation ofthe Company,
enforceable m accordance wtth its terms, except (a} as limited by bankruptcy, insolvency, or other Laws affucting
the enforcement of creditors rights generally, and (b) as limited by Laws relating to the availability of specific
perfo1mance, iajunctive relief, or other equitable remedi,e:,s or equitable principles of general applicability (the
''Standard Exceptions").

       5.8      Vajidity of Shares. The Shares, when issued, sold, and delivered to the Purchaser by the
Company in accordance with the terms of this Agreement, will be duly and validly issued, fully paid, non•
ass~$able) and free and clear of all liens, charges, claims, and encumbrances (except those imposed by this
Agreement or ~ecurities laws generally),

         S.9     CollecJ:ive l3ru·gaining Agt-eements: Emg!9_ym0nt Agreements and Benefit Plans: ERISA
Matters: Etnployoo Corope.nsati.Q!!. Except as set forth on Schedule 5.9, tho Company (i) has no collective
ba,•gaining agreement, employment agrr::e;tnent or any incentive corupeosation1 defen-ed compensation, profit
sharing, or other benefit (including h0$pltalization, disability insunmce, vacation or death benefit) plan or
arrangement with or for the benefit of any officer, employee or other person; and (ii) does not maintain or
sponsor and is not required to make contributions to, any pension, profit sharin& thrift or other retirement plan,
whether or not such plan is or is intended to be qualified under Section 40 l (a) of the fu.ternal Revenue Code of
1954, as amended (the ''Code") (the "Plans''), including, without limitation, any employee benefit plan within the
meaning ofSecti.on 3(3) of the .Employee Retirement Income Secu1"ity Act of1974, as amended ("ERJSA',. The
Company does not participate in or contribute to any multi-employer pension plan. The Company is not a party
to any collective bargaining agteernent. Schedule S. 9 also sets ;forth the name, title, length of service and cur.rent
compensation of each employee of the Company as of the date hereof. Except as otherwise set forth on Schedule
~ all employees of the Company ate employed "at will.'' To the best of each Seller's knowledge after due
inquiry> within the 12-month pei·iod preceding the date of this Agteement1 there have been no actions relating to
or attempts at organizing any unions for the Company, and the Company's relations with its employees have been
good in all :tnaterial respects.

        5.10 Other Authorizations. No approval or consent ofany Person is requii:ed by law> by the Charter,
or by any inde~ttu1-e, instrument, or other agreement to which the Company is a party, or by any holder of
indebtedness of'tb.e Company in connection with the issuance and sale of the Shares pursuant to this Agreement
and the pe1formance by the Company of its obligations hereunder,

         5.11 Adeg uacy ofRights; Ttade Names and Trademru·ks. The Company owns or possesses adequate
franchises, permits1 licenses or ot11er 1ights to use all 1:tade nain.es111'8dewarks, patents, copyrights, warranty rights
and intangible assets u.ecessilly to conduct its business In tbe manner heretofore conducted. fui.hedule 5.11 attached
hereto sets forth ~u registered trademarks, traderonrk registrations, sel'vice marks, service DlJ:!tl< i:agislratiaus and




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applicaticm.s therefor and trade names (the "Trade Names Hild Trademarks") ow.oed, used or held by the Company.
The Company owns the entire right, title and interest in and to the Trade Names and the Tradem,ai:.(<s and to the
Co:tnpa.oy's knowledge the same do not infringe upon or conflict with any ti;-adc namei trademark or service made of
any other person.

         5.12 Compliance with Laws. The business of the Company is being conducted in compliance in all
material l'espects with the applicable federal, state or local law, otdinance or regulation. All governmental
approve.ls, perm.its and licenses i:equired by the Company to conduct its business have been obtained and are :in full
force and effect and are being complied with in all material respects.

         5.13    Other Agreemeo;ts. Tho execution and delive1y of this Agreement, the consummation of the
other transactions contemplated herein, the carrying 011 of the business as cunently conducted by the Company,
and compliance with the terms and provisions of this Agreemc.:it will not conflict with or result in a breach of the
terms and conditions of, or constitute any default under, the Charte(1 ot of any provision of (a) any indebtedness
of the Company, (b) any contract, covenant. or instrument under which the Company is bound, or (c) any
judgment, otder, mling, injunction, or dectee of any court or administrative agency affecting the Company.

         5.14    fu,,1:eptionri.lly Omitted.

         5.15 Litigation. There is no action, suit, proceeding, or investigation pending or, to the Company's
Knowledge, currently threatened against the Co:tnpany that questions the validity of this Agreement or any
agl'eement executed and delivered in connection with the cons\m1mation of the ot'hertnmsactions contemplated
herein, or the dght of the Company to ent'e1• into such agreements, or to consummate the transactions
contemplated hereby or thereby, or that might result, either Individually oc in. tbe aggtegate1 in any mnteric1J
adverse changes in the assets, condition; or affait·s of the Company, wancja)Jy or otherwise, or any change in the
current equity ownership of the Company, nor js the Company awq,re that t,bere Js any basis for the foregoing.

         5.16     Intentionally Omitted.

         5.17 Transactjons with Related Pru-ti~- E'l«lept for the Outstanding Shareholder Lo!lll and the
Management Agreement (to be executed at Closing), neither Shareholde1~ any ;iffiliate 0£ Shareholder nor any
present or fo1mer officer, dil'ector or employee of the Company or any of their respective affiliates is a party to any
transaction with the Company, in.eluding, without limitntion, any guaranty by the Company of the obligations of
such persons 01· any contract, agreement or ot:her arrangement providing for the employment of, ful'nishing of
services by, rental of real or personal propel'ty from or otherwise reguiring payments to 01· any loan to or by
Shareholder, any affiliate of Shareholder or any such officer, director, key employee, shil~eholder or other affiliate.
For the purpose of this Section 5.17, the term "affiliate" means any member of a person's 01· his o.r: her $pouse's
family and any entity which is controlled by such person or any sucll faxnily .member or members.

       5.18 Liapilit,y Insurance. The Company has procured insurance ago.inst loss or damage with respect to
the Company's properties ao.d assets.

         5.19     Tax Mattel'S, (a) The Co:mpany has filed all tax retu.ms that it is required to file under applicable
Law, (b) all such retums are complete and correct, and to the e.'>tentreturns were filed and there were amoun-ts
shown thereon to be due ;md payable by the Company, such amounts have been paid in full except as set forth on
Sectwn, 5. 19 of the Disclosure Schedule ot', if payable with tespect to any period ending on or before the date of a
:Reference Balance Sheet, adequate provisions therefor have been included on such Reference :Balance Sheet, 01·
if payable with respect to any period beginning after such date, adequate provision therefor has been reflected on
the books ofthe Company, (c) the Company has withheld!all tax.es which it is or was obligated to withhold from
amounts paid 01· owing to any employee, shareholder, member, creditor, or other third party, and have paid over




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the withheld amounts to such. party or to the applicable taxing authority if so required by law, (d) the Company i.s
not liable. whether directly 01· indirectly, contingently or secondarily, for any sales, use, excise, or similar taxes
arising from the operation of their respective businesses tbrougb. the date hereof, and (e) tbe Company has not
watve;-:d an-y statute oflimitations or agl'eed to the extension oftime with respectto a tax assessment or deficieucy.


        5.20    Guanmties, The Company is not a guarantor or otherwise liable for any liability or obligation
(including indebtedness) of any other Person or entity.


  Section 6.        REPRESENTATlON'S AND WARRANTIES 0):JRE PURCHASER. The Pui·chaser
  represents and wan-ants to th.e Company that the Purchaser has full power and authority and full legal capacity
  to enter into this Agreement and any other agreements entet'ed into by the Purchaser as of the date hereof 01·
  otherwise in connection herewith with the Company or Shareholder.

  Section 7.        lN'.TENITONALLY OMITTED.

  Section 8.        INDEMNlFICA'I'lON.

           8.1      Sui-viva.I. Subject to the limitations and other provisions ofthis Agreement, the representations
and wat'l'anties contained herein shall $Utvive the Closing and shall tema.in in full force and effect 1mtil the date
th;1t i5 eighteeJl (18) months following the Closing; provided, that the representations and warranties in Section
g, Section 5.2, Section 5.3 shall survive indefinitely. and the representations and warranties in Section 5.20
shall survive for the full period ofall applicable statutes oflimitations (giving effectto any waiver, mitigation, or
extension thereof). All covenants and agreements of the parties contained herein shall survive the Closing
indefinitely 01· for the period a:,1s:plicitly specified therein. Notwithstanding the foregoing, any claims asserted in
good faith with reasonable specificity (to the extent known at such time) and in writing by notice from the non-
breachrog patty to the breaching pai,ty PX'ior to the expiration d;;ite of the applicable survival period shall not
thereafter be ba,·red by the expiration of the relevant representation or wan·anty> and such claims shall survive
until finally resolved.

                    (a)     Inderonlfica.tio;n by the Company and Shareholder. Subject to the other terms and
  conditions of this Section 8. the Company and Shareiholder, jo1ntly and sever~Uy► shall indemnify and defend
  each of the Purohasal' and its Representatives (collectively, the "Purchaser fodemoitees1') against, and shall
  hold each ofthem harmless fi•om and against, and shall pay and reimburlile each of them for, any and all Losses
  incurred or sustained by, or imposed upon, the Purchase!' lndemnitees bas1;id upon, arising out of, with respect
  to, er by t'eason of any inaccuracy in. or breach of any of the representations or warranties of the Company
  contained jn this Agreeme.nt; or

                 (b)    any breach or non-fulfillment of any covenant. agreement, or obligation to be
  perfouned by the Company pursuaut to this Agreement.

                   (c)        I!ldemnification by Purchaser. StJbject to the other terms and conditions of this
  ,Section 8, Purchaset' sh"tll indemnify :md defend the Company and the ShareholdeJ' and eacl1of their respective
  Rep~esentatives (collectively, th1;i "Compa.oy and Shareholder Tndemnitees11) against, and shall hold it harmless
  from and against, aod shall pay and reimburse it for, any and all Losses incurred 01· $Ustained by; or imposed
  upon> the Company and Shareholdet Indemnitees based upon, arising out of, with respect to or by reason of
  any inaccuracy in 01· breach of any of the tepresentations or warranties of Purchaser contained in this
  Agreement.




                                            Stock Purchase Agreement
     Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 10 of 34




         8,2      Notice of Claims. Any person s~king indomo.i:fioati.on (the "Indemnified Party'') hereunder shall
give to the Per.Son obligated to provide indemnification to such Indemnified Party (the 41 Indemnifying Party'>)
prompt written notice of any wdtten claim> dernan~ assessment, action, suit or proceeding to which the
indemnity set forth in this Section 8 applies (''Notice of Clairu1'). lf the document evidencing such claim or
demand fa a court ploadmg, the Indemnified Party shall give such notice to the Indemnifying Patty within :fifl:eein
(I 5) days of receipt of such pleading; otherwise, the Indemnified Party shall gJ~ $\lCh Notice of Claim within
thirty (30) days of the date it received w1·itten notice of such claim, provided that the failitte to notify the
Indemnifying Party will not reHeve the Indemnifying Party of any liability that it may have to the lndetnnified
Patty. The Indemnified Party will have the exclusive right at its own expense to assume the defense thereof using
counsel acceptable to the Jn<lemnified Party In 11s reasonable discl'etion and to settle such claims solely involving
the payment of money. 1n connection with any claim, actioo, or proceeding, the parties hereto sball cooperate
with each other and provide each other with access to relevant books and records in their p0$$e$$ion.

  Section 9.        MISCELLANEOUS.

         9.1      Amendment and Waiver.

                   (a)     Any tew, covenant, agrnement, or condition contained in this Agreement may be
  amended with, and on Iy with, the consent of all ofth~ parties to thls Agree,ment. Compliance by the Company,
  on the: one hand, or Purchaser, on the other, with any such tel'ru, covenant, agreement> <:i.t condition :may he
  waived (either generally or in a particular instance and either retroactively 01· prospectively), by written
  instrnments signed by the by the othet party or parties, as the case may be, hereto pursuant to the terms hereof.

                  (b)     This Agreement shall not be altered, anie.odcd, or supplemented except by writton
  agreement in accordance with Section 9.1(:i) above. Any waiver of any term, covenant, agreement, or condition
  contained in this Agreement shall not be deemed a waiv6r of any other term, covenant, agreement, or
  condition, and any waiver of any default in any such term, covenant, agreetnent, or condition shall not be
  deemed a waiver of any later default thereof o:r of any default of any other term, covenant, agreement, or
  condition.

         9.2      Electronic Signatuie. This Agreement shall be deemed duly executed by either Party hereto upon
the delive1y of their executed signature page by facsimile transmission or other commonly accepted electronic
means, including a transmission of the signature page as a Portable Document Fo1mat (''PDF') to counsel fol'the
other Party.

          9.3     Several;)i!itl'.. The invalidity 01· unenforoeability of any provision hereof in any jurisdlctlou shall
not affect the validity, legality, or enforceability of the remainder hereof in such jurisdiction, or the validity.
legality, or enforceability hereof, includi.tig llllY such provision, in any other jurisdiction, it being intended that all
rights and obligations of the parties hereunder shall be enforceable to the fnUest extent permitted by law.

         9.4      Successor$ ~d A~signs. All reprnsentations, warranties, covenants, and agreements of the
parties contained in this Agreement or made irt wrlting in connection herewith. shall, except as otherwise
pl'ovided hereill, be binding upon and inure to the benefit of their respective successors heil's and pennitted
assigns.

         9.5       Notices. All communications in connection with this Agreement shall be in, writing and shall be
deemed -properly given ifhaud delivernd or sent by e-mail (provided that such communication is acknowledged
electl'onically as received by the recipient), telecopier (provided that such communication is con fir.med by samo- ·
day deposit in the United States mail first class postage prepaid) or pre-paid nationally recognized ove1'night




                                              Stock Purchase Agreement
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courier with adequate e,vidence of delivery, or sent by registered or certified mail, postage prepaid and return
receipt requested and:

          ifto tbe Company, to the Company's offices at:

          38 East 29th Street, 6th Floor
          New York, NY 10016
          Attn: NicolM Goureau
          With a copy to:

          Ja.toes Riegel', Esq.
          Tannebaum ffelpern Syracuse & Hirschritt, LLP
          900 Third Avenue
          New York, NY 10022sch




          ifto the Purchaser, to the Purchaser's offices at:

          2:50 Pat·kway Drive, Suite 270
          Lincolnshire, IL 60069
          Attn: Ma1•cus Lemonis

          With a copy to:

          250 Parkway Drive, Suite 270
          Lincolnshire, IL 60069
          Attn: Tom Newell


  or such other address!:lS or persons as the recipient shall have designated to the sendet by a written notice given
  in accordance with this Section 9.5 , Any notice called fut he1-eundet· shall be deen1ed deJivei·ed when received,

         9.6     Govemin~ Law. This Agreement shall be govemed by, and construed in accordance with, the
laws of the State ofIHinois without regard to its co11flicts or choice of law provisions.

       9.7  WaiverofJuzyTriaj. EACHOFTHEPARTIESHERETOWAIVESANYRTGHTTOTRTAL
BY JURY IN ANY OlSPUTE, WHETHER SOUNDlNG lN CONTRACT, TORT, OR OTHERWISE,
BETWEEN ANY OF THE :PARTIES HERETO ARISING OUT OF OR RELATED TO THE
TRANSACTIONS CONTEMPLATED BY THIS AGREEMENT OR ANY OTHER INSTRUMENT,
DOCUMEN't, OR AGREEMENT EXECUTED OR DELIVERED 1N CONNECTION HEREWITii ANY
p ARTY HERETO MA y FILE AN ORIGINAL COUNTERPART OR A COPY OF nns AGREEMENT
vm1-1 ANY COURT AS WRI'ITEN EVIDENCE OF THE CONSENT OF TBE ?ARTIES HERETO TO THE
WAIVER OF THElR RlOHT TO TRIAL BY JiJl<J:.

       9. 8    QID1:utetparls. This Agreement may bt:l executed in two or more counterparts, each of which shall
be deemed an orlginal but all of which shall together constitute one and the same Agreement.




                                           Stock Purchase Agreement
     Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 12 of 34




        9.9     Further Assurances. Each party agrees to execute and deliver such documents or other
instniments and to take such othe.r actions as may be necessary or appropriate to effect the intent and purposes of
this Agreement.

         9. l O Headings. The beadlngs used herein are solely fot the convenience of the pl\mes aJJd shall not
serve to modify 01• interpret the text of the sections at the beginning of which they appear.

         9. l l  Constmction and RepreseQ,tstjQn. The parties understand and acknowledge that they have each
been represented by (or have had the opportunity to be represented by) counsel in connection with the
preparation~ execution, and delivery of this Agreement. This Agreement shall not be construed against aJJ.y party
for having drafted it.

                                         [Signatures on following pqge}




                                          Stock Purchase Agreement
  Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 13 of 34




        IN WITNESS WHEREOF, the pa1'ties hereto have caused this Stock Purchase Agreement   tQ   be
executed on the day first above written.

COMP4-NY:




PURCHASER:                    ML RETAlL L L C ~

                             By:~
                              Name: Marcus Lemoms

                              fts: Chief Executive Officer




SHAREHOLDER:




                                  Stock Purchase Agreemem
Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 14 of 34




                               EXHIBIT A.

                     Certified Articles of Incorporation




                      Stock Purchase Agreement
Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 15 of 34




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                         ML RETAIL LLC\
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                                 and
                       .Nicio'LAS.GOUREAU
    Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 16 of 34




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         Unless,, ;Pihei:-wis,f!                                                           ·W~s~-      A ~~,~l;i.~'@.lt( tj:fld,
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them _01.'l4!:1- ~~??~, ?iqr~pasi;~i,\gr~y~~t,,rt4_.:p,~~.ed.-~s o~··, .... :. . ::. ,~~·~9H: (the -':11.~e1:1:ent'1,)3 b_y._and
amo,ng MLReta:ll:.LLC-(the !'P11rcliaseI~') . Gooberry Corp. (the -"Co1p.pany>l) 'a11d Ntoobrn-Goureau
(the "Shareholder"). ·                      ·                ·           ··

           ·In no event::·shali. the· 'inclusion of any such additio~. matt~rs,in.,tli¢s~ 'Sche·\,lule_~. ;be.
·d.e~1ned .or ~rit~rpieted h'>. :bkq_a4~ii.. or:· otbt,r_v.ii~·#. ~ipliff any,pf J.4tj :Gqippanf.f}i'.;Pr~~,t~tlop_ :if
  warranti~s. ~ov_emu;r~. 9r~gt~~P.1~r,ts:q9µt~~p,edj~,-~~.Agr~~1ent ,or-10· be .an·:admjssio:o Umt any..
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Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 17 of 34




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                         Refcfence:Bah~,~~-~-.$~~-~f

         See attached,




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                                   Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 20 of 34


     5:17 PM                                                          Goo berry Corp.
     11/06/14
     Accrua• Basis                                                    Balance Sheet
                                                               As of September 30, 2014                                 Adjusted,
                                                                                                                        Sept3oth,
                                                       Sep 30, 14      Corri!clin g Entries     lmri!Stment Entries       2014

     ASSETS
         Current Assets
               Checl<ingfSaVings
                   Bank of America {SH}                   3,321.30                                                         3,321.30
                   cash iri Drawer                        1,000.00                                                         1,000,{)D
                   Fopps, Lnc. #63813                    13,641.92                                                        13,641.92
                   G ooberry Corp - #6825               143,509.12              {130,000.00)                              13,509.12
                   Gooberry Corp- #8168                     7$1 .55                                                          791.55
                   Wells Fargo - #0694 {AS)               3,573.BO                                                         3,573.80
               Total Cn&cklng/Savings                   165,837.69              (13-0,000.00)                     -       35,837.69


               Acet:J unts Receivabte
                   Accounts Reellrvable                      80.16                                                            80.16
               To1a.1 Accounts Racelvable                    60.18.                                               -           S0.18


               Other Current Assets
                   Inventory Asset
                        lnventony South Hampton          20,6W.OO                                                         20,1!99.00
                        lrwentciiy Aspen                 20,422.00                                                        20.422.0D
                        Inventory Back Stock             70.611 .00                                                       70,611 .00
                        Inventory Bethesda               20,517.00                                                        20,517.00
                        lnven~ FOJJPS                    95,379.00                                                        95,379.00
                        lnventoiy Gl'$nwich              31,762.00                                                        31 ,762.00
                        Inventory Mosaic                 41,401.00                                                        41,401.00
                        Inventory Palm Beach              8,152.00                                                         8, 152.0D
                        Inventory Stora;ge              246,500.00                                                       246,500.00
                        loventory XX•'l - Showroom      274,153.00               158,013.98                              432,166.98
                   Tctal Inventory .Asset               829,796.00               158,◊13.98                       -      987,809,98


                   Prepaid C!, lldsu                        750.{10                                                          750.00


                   P[annecl Capital Ex.penciftures                                                        158,424.1)0    158,424.00




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                                        Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 21 of 34


     5:11 PM                                                               G ooberry Corp.
     11/ □5114
     Ai:cruar Basis                                                        Balance Sheet
                                                                     As of September 30, 2014                             Adjusted ,
                                                                                                                          Sept3Gth,
                                                            SeJl 30, 14     Correding Entries      Jnveslment Entries       2014

                     Ur1deposlted Funds                       15,217.96                                                      15,217.96
                 Total Cl.her Current Assets                 845,763.96             158,013.96               156,424.00   1 ,162,201,94


         Total Current Assets                               1,011,681.83              2.B,013.98            158,424,00    1,188,119.61


         Fixed Assels
                 Accumulated Depreciation                    --59,350.00                                                    -59',3!50. □0

                 Furniture & Equipment                           420.00                                                         420.00
                 Furniture & Equipment 2013                     7,5~4.72                                                      7,S·U.72
                 fum!ture & Eq~ipment BE 2013                  8,572.86                                                       8,572.86
                 Leasehold Improvements                       ~.897.47                                                       69,697.47
                 LHI- Betnasda 2013                           13,974.91                                                      13,974.91
                 LHI - Greenwich 2013                           1,814.65                                                      1,814.65
                 LHl - NYC 2013                                 6,845.60                                                      a,w.oo
                 SCgns                                          1,600.00                                                      1,800.00
                 L.easeh old lmproyeme-nts & Furniture                                                      501,576.-00    501,57ii.00
         Total Fixed As~Cs                                    73,480.-41                                    501,576.00     575,066.41


         other Assets
                 Seel.I r,ty Deposits
                     Security Depa.sit - Mosaic               1S.268,1~                                                      13,268.13
                      Securlty Oepo:..it - Offic~             35,435.17                                                      35,433.17
                      Security Depo5cits Asset - Fopps         1€,878.00                                                     16,878.00
                      Sscurity Deposits Asset - Goobe         82,666.00                                                      82,66'6.00
                      Security Deposits • otller                 375.00                                                         375.00
                 To1al Security Deposits                     148,620.30                                                     148,620.30


         Total other Assets                                  148,62.0.30                    -                       -      148,620.30


     TOTAL ASSETS                                           1,233,792.54              28,013.98              6601000.00   1,921,806..52




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                                     Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 22 of 34


     5:17PM                                                                      Gooberry Corp.
     11106114
     Accrual Basis                                                               Balance Sheet
                                                                          As of September 30, 2014                               Adjusted,
                                                                                                                                 Sept3oth,
                                                                S1ip ,30, 14      Correcting E:.ntrles     lnveslment f:n!ries     2014



     LIABILITJES & EQUITY
         Liabilities
                Current LlabUltfes
                    Crectrt Cards
                        Credlt Cards
                             Amex #-23002 Plum                        475.88                                                          475.88
                             Amex#tl'f003 Corporate card              395.□0                                                          395.00
                             Amex #71004 Jet Blue                      40.00                                                           40.00
                             Amex #83005/lt4003/85000 Platnum      81,-400.12                                                      81,48-0.12
                             Mileage Unite<! #8038                 19,925.92                                                       19,925.92
                             Visa Signature #8117                   7,588.76                                                        7,588.76
                             Credit Cards - Otner                      70.00                                                           70.00
                        Tota! Cre<lit Cards                      109,975.68                                                       109.975.68


                    Total Cre<lltCards                           109,975.68                                                       109,975.68


                    Other Current Liabl llttes
                        Customer Deposits                             264.22                                                          264.22
                        Lines of Credit                                                                                                 o.ao
                             Wells Fafllo                          2-0.45tl.54                                                     20,458.54
                        Total Lines of Credit                      20,458.54                                                       20,45-!L54


                        Loans to Gooberry
                             David Turgeman                        60,000.00                 {60,000.00)                                0.00
                             Helpem Tennabaum                      70,000.00                {70,000.00)                                 0.00
                        Total 1.oans to Gooberry                  130,000.00               (130,000.00}                                 0.00


                        Sales Tax Payable
                             Sales Tax AsF>Sn                      10,373.00                                                       10,373.00
                             Safes Tax Fopps                        2,784.00                                                        2,784.00




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                                     Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 23 of 34


     5;17 PM                                                              Gooberry Corp.
     11(05!14
     Accrual Basis                                                        Balance Sheet
                                                                   As of September 30, 2t114                                Adjusle<i,
                                                                                                                            Sept:Sotti,
                                                           Sep3G, 14       Correcting Entries.      investment Entries        2014

                              Sales Tax Goobeny               5,066.00                                                         5,066.00
                              Sale.s Tax Graemwich            2,!323.00                                                        2,623.00
                              Sales Tax Ma.ry!3nd             1,602.00                                                          1,602.00
                              Salesiax Palm Beach             2,196.0[}                                                         2,196.00
                              Sales Tax Virgina               1,429.00                                                          1,429.0G
                         Totaf Sales Tax Payable             26,073.00                                                        26,073.0()


                         Shareholder Loans
                              Loan- Neomi                   -1{},0SO.S5               10,050.65                                      0.00



                              Shareftolder Loans • Other    392,716.28               {10,050.65)             (282,665.63)    100,000.00
                         Total Shareholder Loaris           382,665.63                                       (282,665.63)    100,000.00


                         Unbtl led P1m:has.es (AP)          15S,013.£1B                                                      t5S,013.1l8
                    Total other Current Liabilities         717,475.37              (130,000.00}             (262,665.63)    304,E09.74


                Total Current Liabilities                   827,451.05              (130,000.00)             (282,665.63)    414,7B5.42


         Total Liabilities                                  827,451 .05             (13-0.000.00)            {282,665.63}    414,785.42


         Equity
                Addition Paid in capital                     45,000.00                                                        45,000.00


                Capital Stock                                 9,000.00                                        242,665.63     251,665.63
                Capital Stoc:k • Lemonia                    100,000.00                                        700,000.00     800,000.00
                Retained .Earnings                          216,657.7$                                                       216,657.79




                Netfncome                                    35,683.70               158,013.98                              1S3,697.68




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                              Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 24 of 34

     5:17 PM                                                     Gooberry Corp.
     11105/14
     Accrual Bas.ls                                              Balance Sheet
                                                           As of September 30, 2014-                              Adjusted,
                                                                                                                  Sept30th,
                                                  Sep 31J, 14     Correcting Emries     I 11Vestm Etnt Entries       2014

         Total EquEty                              406,341.49              158,013.98               942,665.63    1,507,021.10


     TOTAL LIABILITIES & EQUITY                   1,233,792.54             28,013.98                660, 00D.OO   1,921 , S□6.S2




                        Check. figure, balance           0.00                                                             0.00




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    Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 25 of 34




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                                 Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 26 of 34




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      LAST NAME.              FJRST NAME.    TITLE/RESPONSIBIUTY             lOCATI_QN__                 Ff/PT      SALARY[HOURLY      ~Amount



        Gour.eau               :Nicolas              ·CEO                    NYC::.bffice.                 FT            SA.lARY      $,108,000/yr
        Goureau                 Neomi.           Chief Desjgner,            .Nvt~ 6fffce·                 FT             SALARY       •$160'~000/yr


         Menkin.               Stepharii"e          President.              NYC-Office:                   :Fr·           SALARY        $93~000/vr.
     /•.g'riere b.i:55,I ;-     ~~·uaVi        S~a rnstr~~-~fStQ ck         :NYq_-Office                   PT            HOURLY          $15/hr

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                      Case 1:20-cv-04691-MKV Document 24-1 Filed 08/17/20 Page 27 of 34




                                                                           Pafm Beach',.. flj.
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                                                                            Bet~es_da~.M~/
      Jacob         ..She"i!a,                  VP Retail                        fairfax,=.-vA                     FT        SAlA~Y        $73J000/yr:


       Flynn          Giulia           · Boutique Man:ager-                  Gr~emivich, CT-.                      FT        HOU~l,.V..     '$i"Ofljr
     .Epifano         Gina•               ·sales Associate=                 .Gre~nwicb,·CT:                        FT        HOU.RLY         $15/hr

     Monteiro        :Carla               Sales.Assodate-                 'Soutbampton; ·NY                        TT        ·1--muRLY-    _$17.'5tl/.hr
     .~~:r~y          Alissa.             Sales Assodate::                ·Souttrampton/NY.                    Seasonal FT   HOD°RLY         $12/hr



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      Setlur        Abhil~~~a             '$~l~t~so~iat~"'                   Beth~:sd~,:_ M~l                      PT        Hbl1Rbf         $15/hr
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                                           Schedµle 5.'13(°b)

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         Consents may be required _pursuant to. the terms of::the ¢qmpnuy's le_~$es.of.i·eal p_rop~ity;




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         None.




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